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                                                       U.S. Department of Justice

                                                       National Security Division


  Counterintelligence and Export Control Section       Washington, D.C. 20530




                                                       September 27, 2022

  By ECF and Courtesy Copy

  Judge Raymond J. Dearie
  United States District Court
   Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11202

  Re:       Donald J. Trump v. United States of America, Case No. 22-81294-CIV-CANNON –
            Government Motion to Modify and Adopt the Amended Case Management Plan (ECF
            112) with Comments on the Amended Plan and Plaintiff’s Objections


  Dear Judge Dearie:

  The government moves to modify the Amended Case Management Plan in order to contract
  directly with a document-review vendor. Besides that revision, the government moves to adopt
  the Amended Case Management Plan. See ECF 112, at 6-7. The government further comments
  on Executive-privilege review and Plaintiff’s objections in the hope that the Special Master finds
  the comments helpful in administering the Amended Case Management Plan and considering
  Plaintiff’s objections.

  Document-Review Vendor

  Plaintiff informed us this morning that none of the five document-review vendors proposed by
  the government before last Tuesday’s preliminary conference were willing to be engaged by
  Plaintiff. To avoid further delay in the vendor’s scanning and processing of the Seized Materials
  (defined to exclude “documents bearing classification markings”), the government issued a
  request for a task order this afternoon with a deadline of tomorrow (Wednesday, September 28,
  2022) at noon. Based on its prior experience and discussions today with the vendors, the
  government is highly confident at least one vendor will respond and that it will be able to “agree
  upon and contract with a document review vendor that will host the Seized Materials in
  electronic form.” ECF 112, at 3. Based on applicable procurement regulations, the government is
  not able to select and engage a vendor before tomorrow (Wednesday, September 28, 2022).
  Consistent with the Appointment Order (ECF 91 ¶ 14), the government expects Plaintiff to pay
  the vendor’s invoices promptly when rendered.


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  Because the vendors have not yet made their submissions, the government does not yet know
  precisely when the vendor will be able to scan, process, host, and “make available to Plaintiff
  and the Special Master copies of all Seized Materials (except the materials already identified by
  the Privilege Review Team as potentially privileged attorney-client materials) in electronic
  format with each page bearing a unique Bates number.” Id. In selecting the vendor, the
  government will place great weight on coming closest to meeting the deadline in the Amended
  Case Management Plan, which is this Friday, September 30, 2022. Based on its prior experience
  and discussions today with the vendors, and the small volume of documents, the government
  believes that the selected vendor will be able to make a rolling production beginning as early as
  this Friday, September 30, 2022, and will be able to complete production no later than the
  following Friday, October 7, 2022. The government will seek to have the vendor complete
  scanning all of the Seized Materials as early next week as possible.

  To adjust the Amended Case Management Plan to today’s developments, the government
  respectfully requests that the Special Master reset the deadline for vendor selection and
  contracting to Wednesday, September 28, 2022 (from Tuesday, September 27, 2022), and the
  deadline for production of Seized Materials to Friday, October 7, 2022. The government will
  report the vendor’s progress.

  The government shared the paragraphs in this section with Plaintiff’s counsel before filing and
  Plaintiff agrees to the government’s proposed way forward on the document vendor in principle.
  To avoid asking for further extensions, Plaintiff suggests that the selection deadline be reset to
  September 29, 2022, with the rolling production commencing October 3, 2022, and be completed
  by October 10, 2022.

  In light of this substantial change in the party contracting with the vendor, the government
  respectfully requests that the Special Master adopt the government’s proposed reset deadlines
  and expresses the hope that the Special Master will consider potential further brief extensions for
  actions of third parties outside the parties’ or Special Master’s control. 1 The government has
  already and timely filed its verification of the detailed property inventory ordered by the
  Amended Case Management Plan. ECF 112, at 1.

  Executive Privilege Review of Seized Materials

  The Amended Case Management Plan (ECF 112, at 3) requires Plaintiff to provide the Special
  Master and government a spreadsheet in which Plaintiff asserts, on a document-by-document
  basis, whether a document is subject to “c. Executive privilege that prohibits review of the
  document within the executive branch” and “d. Executive privilege that prohibits dissemination
  of the document to persons or entities outside the executive branch.”

  The government has no objection to Plaintiff making the Executive privilege assertions in
  sections c. and d. For its part, the government maintains the position it has taken in the district

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    Last Friday, the government’s letter motion (ECF 108, at 1-2) stated that the parties considered
  the five vendors that the government identified before last Tuesday’s preliminary conference
  plus an additional sixth vendor. Actually, the parties considered only the original five vendors,
  not six. The error is ours.

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  court and Eleventh Circuit that (among other things) a former President may not successfully
  assert executive privilege “against the very Executive Branch in whose name the privilege is
  invoked” (Nixon v. Administrator of General Services, 433 U.S. 425, 447-48 (1977)), and that
  any assertion of the qualified executive privilege over the Seized Materials would be overcome
  by the government’s “demonstrated, specific need” for such Seized Materials (United States v.
  Nixon, 418 U.S. 683, 713 (1974)) in its ongoing criminal investigation. See ECF 48, at 23-30
  (S.D. Fl.); USCA11 Case: 22-13005, at 2, 12-15 (11th Cir.).

  Plaintiff’s Objections

  Plaintiff makes three objections to the Amended Case Management Plan. Although the three
  objections are different, all are without merit.

  First, contrary to Plaintiff’s objection, the verification required by Plaintiff of the Detailed
  Property Inventory is a condition precedent to the document categorization and privilege review.
  The Special Master needs to know that that he is reviewing all of the materials seized from Mar-
  a-Lago on August 8, 2022 – and no additional materials – before he categorizes the seized
  documents and adjudicates privilege claims.

  Second, that the Amended Case Management Plan has six categories (ECF 112, at 3) and the
  Appointment Order four (ECF 91, at 1) is entirely a function of the fact that the four categories
  in the Appointment Order speak of “privilege” in general and do not (as the Amended Case
  Management Plan does) differentiate between attorney-client and Executive privilege. The
  Amended Case Management Plan is entirely consistent with the Appointment Order. Plaintiff’s
  objection has no logical basis.

  Third, the Special Master’s request for briefing on a particular point of law is similarly consistent
  with the Appointment Order. The government will brief that point of law. It behooves Plaintiff to
  brief that point as well.

  Plaintiff brought this civil, equitable proceeding. He bears the burden of proof. If he wants the
  Special Master to make recommendations as to whether he is entitled to the relief he seeks,
  Plaintiff will need to participate in the process by categorizing documents and providing sworn
  declarations as the Amended Case Management Plan contemplates.




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  Thank you for your consideration.

                                            Respectfully submitted,


                                            JUAN ANTONIO GONZALEZ
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                                      By:   /s/
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on September 27, 2022, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record via transmission of Notices of

  Electronic Filing generated by CM/ECF.




                                           /s/    Julie A. Edelstein
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